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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION
Sharon Mitchell Plaintiff                         Case No: 16-cv-7227

v.                                                Judge Edmond E. Chang

Plano Police Department, City Of Plano,
Plano City Zoning and Enforcement, Officers       Jury Trial Demanded
John Beery, Rober Hernandez, Anthony
Jourtas, Shawn Barks, Trish Hutson, Susan
Nelson, Aaron Smith, Lt Whowell, Tom
Romano, Unknown Individuals to be named
through discovery, Defendants


            PURSUANT TO FRCP 26(a)(1)(B)(ii) PLAINTIFF REQUEST FOR DOCUMENTS
                              FROM DEFENDANT HUTSON

        Plaintiff, Sharon Mitchell, Pro se, pursuant to FRCP 26(a)(1)(B)(ii) request the following
        Documents from Defendant Hutson:

     1. Defendant Hutson has not disclosed nor presented Plaintiff with documents which
        possibly have relevance to this present action.
     2. Plaintiff requests, not inclusive, any Video Surveillance, Pictures, media depicting
        Plaintiff.
     3. Video Surveillance, Pictures, media depicting Plaintiffs’ property which includes, not
        inclusive, Plaintiffs home, dogs, vehicles, friends, etc
     4. Statements made regarding Plaintiff’s, not inclusive, property, home, dogs, vehicles,
        friends, etc;
     5. Where, when, why and how these statements were made, the purpose of these
        statements and outcome.
     6. Hutsons relationship with Officers of the Plano Police Department. More specifically,
        Officer Barks and Hogan.
     7. If Hutson can not provide any of the information requested above, the reason for the
        failure to comply, when the information will be available and/or the location where
        Plaintiff can retrieve the information.



                                                                    _/s/_Sharon Mitchell________
                                                                                          Plaintiff
                                                                                          Pro Se
                                                                             3105 Hoffman Street
